Case 3:17-cv-00072-NKM-JCH Document 786-1 Filed 06/26/20 Page 1 of 2 Pageid#:
                                 11493



                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUNIZ, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, THOMAS BAKER and JOHN
  DOE,

                                 Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
                                               Civil Action No. 3: 17-cv-00072-NKM
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS, LEAGUE
  OF THE SOUTH, JEFF SCHOEP, NATIONAL
  SOCIALIST MOVEMENT, NATIONALIST
  FRONT, AUGUSTUS SOL INVICTUS,
  FRATERNAL ORDER OF THE ALT-
  KNIGHTS, LOYAL WHITE KNIGHTS OF THE
  KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                                Defendants.




          [PROPOSED] ORDER EXTENDING DISCOVERY DEADLINES




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       Appearing that this Motion is uncontested, and for good cause shown, the Court GRANTS

Plaintiffs’ Unopposed Motion to Extend Discovery Deadlines and AMENDS the Scheduling

Order, ECF No. 597.

       IT IS hereby ORDERED as follows:

       1.        Opening expert reports shall be submitted by July 20, 2020.

       2.        Rebuttal expert reports shall be submitted by July 31, 2020.

       3.        Expert depositions shall be completed by August 7, 2020.

       4.        Depositions of incarcerated parties and witnesses may be taken after the July 17,

2020 deadline.

       5.        Depositions of third-party witnesses that a party was unable to subpoena during the

discovery period (after making a good-faith effort to do so) may be deposed after the July 17, 2020

deadline.

       All other deadlines shall remain the same as stated in the Scheduling Order, ECF No. 597.


SO ORDERED.


                                                      ________________________________
                                                      Hon. Joel C. Hoppe, M.J.




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